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            EXHIBIT 0
                      Case 1:19-cr-10080-LTS Document 995-10 Filed 03/31/20 Page 2 of 3
   Message
   From:
   Sent:           5/26/2015 03:21:09 PM
   To:             Pat Haden [/o=ExchangeLabs/ou=Exchange Administrative Group
                   (FY0IBOHF23SPDLT)/cn=Recipients/cn=4df3787a33b14662b16cb977d37d9c9e-scdv6dw2]
   CC:             John Mckay [/o=ExchangeLabs/ou=Exchange Administrative Group
                   (FY0IBOHF23SPDLT)/cn=Recipients/cn=307bcbe9f2d243db8f9d5be8ed871754-5ckw9mg2]; Heather Dunn
                    Vo=ExchangeLabs/ou=Exchange Administrative Group
                   (FYDIBOHF23SPDLT)/cn=Recipients/cn=1d1ac550754e48f692a3e5e4e1226392-scfs9kt9];

   Subject:         Re: Lunch w-   and Rick Singer --- LACC


   Thx Pat!

   Heather       look forward to hearing from you.




   Sent from my BlackBerry 10 smartphone on the Verizon Wireless 4G LTE network.
   From: Pat Haden
   Sent: Monday, May 25, 2015 8:15 PM
   To:
   Cc: John Mckay; Heather Dunn
   Subject: Re: Lunch w-    and Rick Singer --- LACC

   Heather, please arrange. Thx             !

   Sent from my iPhone

   On May 25, 2015, at 7:56 PM,                                           wrote:

              Greetings Pat + JK!

              I would like to introduce you to my friend Rick Singer. He has asked to meet you both

              I am thinking a lunch at LACC in June -- if that works for you both (7)

              Rick is one of the top college counselors and a great guy. I have know Rick for about 5 yrs
              and he gave me great advice when          was applying to colleges.

              Just for example -- Rick has worked closely with the following families .




              John Wilson (staples)




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                                                                                                   VB-RECORDS-00329207
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          Am aware you know many of these families
          And for many yrs to come, Rick will continue to counsel and direct many high school kids to
          USC.

          I think there is a real opportunity here (for USC and your athletic dept) which can best be
          described by Rick and me during our June lunch

          Toss out some dates that work for you both and I will coordinate / confirm w- Rick

          Looking forward to seeing you both.

          Best,




          Sent from my BlackBerry 10 smartphone on the Verizon Wireless 4G LTE network.


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          Thank you




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